
Niraj Patel, Appellant,
againstNew Holland Village Condo Association, Respondent.




Niraj Patel, appellant pro se.
Warren P. Kossin, Esq., for respondent.

Appeal from a judgment of the Justice Court of the Town of Clarkstown, Rockland County (Scott B. Ugell, J.), entered October 13, 2015. The judgment, after a nonjury trial, dismissed the action.




ORDERED that the judgment is affirmed, without costs.
Plaintiff commenced this small claims action to recover the sum of $2,988.88, representing, among other things, the cost of replacing a thermostat on his dryer on two occasions, and the replacement of the dryer. After a nonjury trial, the Justice Court dismissed the action.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (UJCA 1807; see UJCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125 [2000]). The determination of a trier of fact as to issues of credibility is given substantial deference, as a trial court's opportunity to observe and evaluate the testimony and demeanor of the witnesses affords it a better perspective from which to assess their credibility (see Vizzari v State of New York, 184 AD2d 564 [1992]; Kincade v Kincade, 178 AD2d 510, 511 [*2][1991]). This deference applies with greater force to judgments rendered in the Small Claims Part of the court (see Williams v Roper, 269 AD2d at 126). 
As the court's determination is supported by the record and provides the parties with substantial justice (see UJCA 1804, 1807), the judgment is affirmed.
Iannacci, J.P., Tolbert and Brands, JJ., concur.
Decision Date: May 23, 2017










